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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              Case No. 19-cv-21724-BLOOM/McAliley

 HAVANA DOCKS CORPORATION,

           Plaintiffs,

 v.

 CARNIVAL CORPORATION,

       Defendant.
 ________________________________/


                                                ORDER

           THIS CAUSE is before the Court upon Defendant Carnival Corporation’s (“Carnival” or

 “Defendant”) Motion to Dismiss, ECF No. [17] (the “Motion”). The Court has considered the

 Motion, the opposing and supporting briefs, the record and applicable law, and is otherwise fully

 advised. For the reasons that follow, the Motion is denied.

      I.   BACKGROUND

           On May 2, 2019, Plaintiff Havana Docks Corporation (“Havana Docks”) filed this action

 against Defendant Carnival (“Carnival”) pursuant to Title III of the Cuban Liberty and Democratic

 Solidarity Act (“the Libertad Act”). ECF No. [1] (“Complaint”). “One of the Libertad Act’s

 purposes was to ‘protect United States nationals against confiscatory takings and the wrongful

 trafficking in property confiscated by the Castro Regime.’” Id. at 1 (citing 22 U.S.C. § 6022(6)).

           Plaintiff is a United States national as defined by 22 U.S.C. § 6023(15). Id. at ¶ 6. In the

 Complaint, Plaintiff alleges that it is the rightful owner of the certain commercial waterfront real

 property in the Port of Havana, Cuba, identified as the Havana Cruise Port Terminal (“Subject

 Property”). Id. Plaintiff claims that it owned the Subject Property until the Cuban Government
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 confiscated it on October 24, 1960. Id. at ¶¶ 7-8. Plaintiff further alleges that since its confiscation,

 the Subject Property has not been returned and adequate and effective compensation has not been

 provided. Id. at ¶ 9. Plaintiff’s ownership interest in the Subject Property has been certified by

 the Foreign Claims Settlement Commission under the International Claim Settlement Act of 1949.

 Id. at ¶ 11. Plaintiff has attached the Certified Claim to its Complaint. See ECF No. [1-1].

         According to the Complaint, on or about May 1, 2016, Carnival “knowingly and

 intentionally commenced, conducted, and promoted its commercial cruise line business to Cuba

 using the Subject Property by regularly embarking and disembarking its passengers on the Subject

 Property without authorization of Plaintiff or any U.S. national who holds a claim to the Subject

 Property.” Id. at ¶ 12. At that time, Carnival is alleged to have participated in and profited from

 the Cuban Government’s possession of the Subject Property without Plaintiff’s authorization. Id.

 at ¶ 13. Plaintiff claims that Carnival’s knowing and intentional conduct relating to the Subject

 Property is “trafficking” as defined in 22 U.S.C. § 6023(13)(A), and Defendant is liable to Plaintiff

 for all money damages allowed by statute. Id. at ¶¶ 14, 15.

         Carnival has now moved to dismiss the Complaint for failing to state a claim under Federal

 Rule of Civil Procedure 8(a). See ECF No. [17].

  II.    LEGAL STANDARD

         Rule 8 of the Federal Rules of Civil Procedure requires that a pleading contain “a short and

 plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

 Although a complaint “does not need detailed factual allegations,” it must provide “more than

 labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see Ashcroft v. Iqbal, 556 U.S. 662, 678

 (2009) (explaining that Rule 8(a)(2)’s pleading standard “demands more than an unadorned,




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 the-defendant-unlawfully-harmed-me accusation”). In the same vein, a complaint may not rest on

 “‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting

 Twombly, 550 U.S. at 557 (alteration in original)). “Factual allegations must be enough to raise a

 right to relief above the speculative level.” Twombly, 550 U.S. at 555. These elements are required

 to survive a motion brought under Rule 12(b)(6), which requests dismissal for “failure to state a

 claim upon which relief can be granted.”

 III.    DISCUSSION

         In the Motion, Defendant’s argument for dismissal is two-fold. First, Defendant argues

 that Plaintiff has failed to plead a claim entitling it to relief because it failed to allege that Carnival’s

 use of the Subject Property was not “incident to lawful travel.” ECF No. [17], at 3-11. Second,

 Defendant argues that Plaintiff has failed to plead a claim since the face of the Complaint and its

 accompanying exhibits indicate that the Plaintiff did not have an ownership interest in the Subject

 Property at the time Carnival began utilizing the Subject Property. Id. at 11-15. The Court will

 address each argument in turn.

             A. Statutory Exception

         As set forth in 22 U.S.C. § 6082(a)(1), a defendant can be found liable under Title III of

 the Libertad Act if (1) after November 1, 1996; (2) it traffics; (3) in property which was confiscated

 by the Cuban Government on or after January 1, 1959. See 22 U.S.C. § 6082(a)(1).

         As to its first argument, Carnival contends that it was insufficient for Plaintiff to plead that

 the Defendant was using the confiscated Cuban property, and that the Plaintiff “must go a step

 further and plead facts stating a plausible allegation that the use of the property was not incident

 to lawful travel.” ECF No. [17], at 11. Specifically, Carnival argues that it did not traffic in the

 Subject Property because it is subject to the carve out provision outlined in the Libertad Act’s




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 definitions section. ECF No. [17], at 10. Carnival contends that dismissal is warranted because

 “Plaintiff has not plead that Carnival’s use of the docks was not ‘incident to lawful travel to Cuba,’

 or not ‘necessary to the conduct of such travel.’” ECF No. [17], at 5. Carnival further argues that

 even if Plaintiff has adequately plead a claim under the Libertad Act, this attempt would fail

 because Carnival’s use of the Subject Property was “incident to lawful travel to Cuba,” and

 “necessary to the conduct of such travel.” Id. at 5. Plaintiff responds that the application of

 Defendant’s argument—that Plaintiff is required to plead the trafficking was not incident to lawful

 travel—would require it to allege a negative. ECF No. [33], at 4. Further, Plaintiff contends that

 the lawful travel statutory exception is not an element of the offense, but rather an affirmative

 defense on which the Defendant bears the burden of proof. Id. at 5.

        The Libertad Act defines “trafficking” as follows:

                As used in subchapter III, and except as provided in subparagraph
                (B), a person “traffics” in confiscated property if that person
                knowingly and intentionally--
                (i) sells, transfers, distributes, dispenses, brokers, manages, or
                otherwise disposes of confiscated property, or purchases, leases,
                receives, possesses, obtains control of, manages, uses, or otherwise
                acquires or holds an interest in confiscated property,
                (ii) engages in a commercial activity using or otherwise benefiting
                from confiscated property, or
                (iii) causes, directs, participates in, or profits from, trafficking (as
                described in clause (i) or (ii)) by another person, or otherwise
                engages in trafficking (as described in clause (i) or (ii)) through
                another person, without the authorization of any United States
                national who holds a claim to the property.
                (B) The term “traffics” does not include--
                                                   ...
                (iii) transactions and uses of property incident to lawful travel to
                Cuba, to the extent that such transactions and uses of property are
                necessary to the conduct of such travel; or

 22 U.S.C. § 6023. In reviewing the text of the statute, “Congress expressed a clear intent to make

 the travel provision an exception to unlawful trafficking. Moreover, because this statutory




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 exception requires proof of new facts. . . it fits the mold of a traditional affirmative defense.”

 Javier Garcia-Bengochea v. Carnival Corporation, Case No. 19-cv-21725-JLK, at ECF No. [41],

 at 6-7.

           Based on the language of the Libertad Act, the Court agrees with the Plaintiff that the

 “lawful travel exception” is an affirmative defense to trafficking. Affirmative defenses generally

 admit the matters in a complaint but nevertheless assert facts that would defeat recovery. “Plaintiffs

 are not required to negate an affirmative defense in their complaint.” La Grasta v. First Union

 Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004). Therefore, this exception must be established by

 Carnival and Plaintiff was not required to negate this exception in its Complaint. While it may

 very well be that Carnival’s conduct falls within the scope of the exception, such argument is not

 appropriate at this stage of the litigation.

           In its Motion, Defendant argues that “[c]ourts in this Circuit have routinely required a

 plaintiff pursuing a statutory claim to plead facts that plausibly meet the statutory definition.” ECF

 No. [17], at 4. Specifically, Defendant cites cases which allege claims under Computer Fraud and

 Abuse Act, Fair Debt Collection Practices Act, and Driver’s Privacy Protection Act. ECF No. [17],

 at 4-5; ECF No. [39], at 5-7. However, reliance on such cases cited by the Plaintiff is misplaced.

           For example, in Arko Plumbing Corp. v. Rudd, 2013 WL 12059615, at *3 (S.D. Fla. Sept.

 26, 2013), the Court found that a plaintiff adequately plead that a “loss” was incurred as defined

 by the Computer Fraud and Abuse Act. However, the Act applied in Arko Plumbing Corp. did not

 apply nor concern a definitional exception and thus its application to the instant case is

 inapposite. See generally id.

           In Brown v. Regions Mortg. Corp., 2012 WL 13013583, at *3 (N.D. Ga. Dec. 3, 2012), the

 district court dismissed a plaintiff’s claims pursuant to the Fair Debt Collection Practices Act




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 (“FDCPA”). Brown v. Regions Mortg. Corp., 2012 WL 13013583, at *3 (N.D. Ga. Dec. 3,

 2012), report and recommendation adopted, 2012 WL 13013984 (N.D. Ga. Dec. 31, 2012). One

 of the elements expressly required to state a claim pursuant to the FDCPA is that the defendant is

 a “debt collector.” Id. In Brown, the Court dismissed the plaintiff’s claims because she did not

 “compl[y] with [the] foundational FDCPA requirements,” and had not alleged any facts showing

 that either defendant was a debt collector or attempted to collect a debt under the Act. Id. Such is

 not the case here, where the Plaintiff has directly alleged the conduct alleged to have been

 committed by Carnival, see ECF No. [1], at ¶12, and that such conduct constitutes “trafficking as

 defined in 22 U.S.C. § 6023(13)(A).” ECF No. [1], at ¶ 14.

        Lastly, in its Reply, the Defendant argues that Thomas v. George, Hartz, Lundeen, Fulmer,

 Johnstone, King, & Stevens, P.A., 525 F.3d 1107 (11th Cir. 2008), further supports its contention

 that definitional exceptions are material elements and not affirmative defenses. ECF No. [39], at

 4-5. In Thomas, the Eleventh Circuit Court of Appeals held that the Driver’s Privacy Protection

 Act (“DPPA”) required the plaintiff to show that his personal information was obtained “for a

 purpose not permitted” by the statute and rejected the plaintiff’s argument that the permissible uses

 listed in the statute should be viewed as affirmative defenses. Thomas v. George, Hartz, Lundeen,

 Fulmer, Johnstone, King, & Stevens, P.A., 525 F.3d 1107, 1112 (11th Cir. 2008). However, claims

 pursuant to DPPA are markedly different from the claim alleged in the instant case. The plain

 language of the DPPA prohibits obtaining a driver’s personal information “for a purpose not

 permitted under this chapter.” Id. at 1110-1111. In Thomas, the Eleventh Circuit noted that the

 statute itself articulates fourteen permissible uses, see id. at 1110-12, and the court thereafter

 concluded that a plaintiff must establish that the defendant’s purpose was not among those

 expressly permitted by the DPPA. Id. Here, the language of the Libertad Act does not dictate such




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 a reading. Rather, the Libertad Act sets forth what does and does not constitute unlawful trafficking

 and frames the travel provision as an exception to otherwise unlawful conduct. The decision in

 Thomas provides little support for the Defendant’s contention here.

         To plausibly plead a claim, a complaint must “contain either direct or inferential allegations

 respecting all the material elements necessary to sustain a recovery under some viable legal

 theory.’” Fin. Sec. Assur., Inc. v. Stephens, Inc., 500 F.3d 1276, 1282–83 (11th Cir. 2007) (quoting

 Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678, 683 (11th Cir. 2001)). Carnival argues

 that Plaintiff has failed to state all material elements under the Libertad Act. The Court disagrees.

 Plaintiff has sufficiently plead all such allegations. Indeed, Plaintiff alleges that it holds a certified

 claim to the Subject Property, which was confiscated by the Cuban Government in 1960. ECF No.

 [1], at ¶¶ 8, 11. Plaintiff further alleges that the Defendant “knowingly and intentionally

 commenced, conducted, and promoted its commercial cruise line business to Cuba using the

 Subject Property by regularly embarking and disembarking its passengers on the Subject

 Property,” and that such conduct “is trafficking as defined in 22 U.S.C. § 6023(13)(A).” ECF No.

 [1], at ¶¶ 12-14.

         The Court further rejects the notion that Plaintiff was required “to go a step further” beyond

 the elements articulated in the statute and state that the alleged trafficking was not “incident to” or

 “necessary for” lawful travel. Plaintiff alleges that the trafficking that occurred was “as defined

 in 22 U.S.C. § 6023(13)(A).” ECF No. [1], at ¶ 14. To the extent the Defendant disagrees with

 this allegation, it may deny it, and assert an appropriate affirmative defense.

         Carnival also argues that even if Plaintiff has attempted to adequately plead trafficking,

 such attempt would fail because Carnival’s use of the Subject Property was “incident to” or

 “necessary for” lawful travel. ECF No. [17], at 5-8. However, this argument is also inappropriate




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 at this stage, as it calls into question a direct issue of fact in dispute. Such question is not suitable

 for disposition upon a motion to dismiss. See Int’l Village Ass’n, Inc. v. AmTrust N. Am., Inc.,

 2015 WL 3772443, at *4 (S.D. Fla. June 17, 2015) (“[Defendant’s] contrary assertion... raises

 an issue of fact inappropriate for resolution on a motion to dismiss.”).

             B. Plaintiff’s Claim to the Subject Property

         As for its second argument, Carnival argues that the Complaint should be dismissed

 because Plaintiff did not have a property interest in the Subject Property at the time Carnival was

 alleged to have committed the trafficking. ECF No. [17], at 18-19. Specifically, the Defendant

 does not refute that the Plaintiff owns the claim to the Subject Property, but rather that such claim

 was a “time limited concession.” Id. at 18. Defendant further contends that this concession expired

 in 2004. Id. Therefore, Carnival argues that it cannot be found liable because, as stated in the

 Complaint, its conduct is alleged to have commenced in 2016. Id. Plaintiff responds that this

 argument “conflates ownership interest in property with ownership of a claim to such property.”

 ECF No. [33], at 17. And further, that the Libertad Act creates a cause of action to the owner of a

 claim with respect to the confiscated property. Id. at 19.

         First, the plain language of the Libertad Act states that “any person ... that traffics in

 property which was confiscated by the Cuban Government ... shall be liable to any United States

 national who owns the claim to such property.” 22 U.S.C. § 6082(A) (emphasis added). Thus, the

 Libertad Act does not expressly make any distinction whether such trafficking needs to occur while

 a party holds a property interest in the property at issue. To this extent, the Court agrees with the

 Plaintiff that the Defendant incorrectly conflates a claim to a property and a property interest.

 Accordingly, the Court finds that the Complaint sufficiently alleges that the Plaintiff owns a claim

 to the Subject Property.




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        Further, the Defendant argues that the Claim Certification attached as an exhibit to the

 Complaint negates the Plaintiff’s claim because it identifies that it maintained only a timed-

 concession to the Subject Property. ECF No. [17], at 15. As such, the Court should consider the

 exhibit as grounds to dismiss the instant lawsuit. However, even considering the timed-concession,

 such would not “negate” a valid claim to the subject property, and thus is also not a valid argument

 supporting dismissal at this stage.

 IV.    CONCLUSION

        Accordingly, it is ORDERED AND ADJUDGED as follows:

                1. Defendant Carnival Corporation’s Motion to Dismiss, ECF No. [17], is

                     DENIED. Defendant Carnival Corporation shall file its Answer to the

                     Complaint no later than September 6, 2019.

        DONE AND ORDERED in Chambers, at Miami, Florida, on August 27, 2019.




                                                          ________________________________
                                                          BETH BLOOM
                                                          UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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